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                                       EXHIBIT A

                                     Wiley Declaration




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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE


    In re:                                                    Chapter 11

    AMYRIS, INC., et al.,1                                    Case No. 23-11131 (TMH)

                                 Debtors.                     (Jointly Administered)


     DECLARATION OF JOSHUA WILEY IN SUPPORT OF THE OMNIBUS REPLY OF
             THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
         TO (A) OBJECTION OF THE DEBTORS AND (B) OBJECTION OF THE
      DIP LENDER AND FORIS PREPETITION LENDERS TO THE COMMITTEE’S
        APPLICATION TO RETAIN JEFFERIES LLC AS INVESTMENT BANKER

         Pursuant to 28 U.S.C. § 1746, I, Joshua Wiley, hereby declare that the following is true and

    correct to the best of my knowledge, information, and belief:

              1.          I am an authorized signatory of Wiley Companies (“Wiley”).                   Wiley is an

    unsecured creditor of the Debtors and a member of the Committee appointed in the above-

    captioned Chapter 11 Cases. I am Wiley’s representative to the Committee. I submit this

    declaration (the “Declaration”) in support of the Committee’s Application for entry of an order

    authorizing the retention and employment of Jefferies LLC (“Jefferies”) as investment banker

    [D.I. 334] (the “Retention Application”) and the Committee’s reply in support filed

    contemporaneously herewith (the “Reply”).2 I have reviewed and am familiar with the Retention

    Application and the Reply. I am in all respects competent to make this Declaration in support of




1
        A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
        claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
        place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
        Emeryville, CA 94608.
2
        Capitalized terms used but not otherwise herein defined shall have the meanings ascribed to such terms in the
        Retention Application or Reply.


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the Application and Reply. Except as otherwise noted, I have personal knowledge as to all the

information set forth below.

          2.          On August 27, 2023, the Office of the United States Trustee for the District of

Delaware appointed the Committee, which is comprised of seven members including Wiley

Companies, for which I serve as representative. From the beginning, the Committee has focused

on the risks and uncertainties associated with the proposed transactions that form the centerpiece

of these Chapter 11 Cases.

          3.          In light of the Debtors’ proposed sale process (or processes), as part of an overall

“toggle” plan framework, the Committee solicited, shortly after its formation, engagement

proposals from firms that provide financial advisory services, investment banking services, or

combined financial advisory and investment banking services.                 On August 30, 2023, the

Committee conducted a remote meeting during which it interviewed eight separate firms.

          4.          Following these interviews, the Committee members (and, where applicable, their

respective individual advisors) engaged in lengthy discussions with the Committee’s counsel,

White & Case and Potter Anderson, regarding the qualifications of the firms the Committee had

interviewed and the terms on which such firms proposed to be retained. The Committee also

considered whether it needed the services of one or more advisory firms given the circumstances

of these Chapter 11 Cases.

          5.          After discussion and deliberation regarding the advisory firms’ capabilities and

proposed compensation, on August 30, 2023, the Committee unanimously decided to select FTI

Consulting, Inc. (“FTI”) as its financial advisor.




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          6.          After further vigorous discussion, deliberation, and arms-length negotiations

regarding the proposed fee structure, on September 1, 2023, the Committee unanimously selected

Jefferies as its investment banker.

          7.          Among other factors, the Committee considered the strength and expertise of

Jefferies’ Beauty & Wellness Investment Banking group, which the Committee identified as

important given the Debtors’ contemplated sale of their performing and non-performing consumer

brands. The Committee further considered the strength and expertise of Jefferies’ Specialty

Chemicals Investment Banking group, which the Committee identified as important given the

complex and highly technical nature of the Debtors’ core businesses. In addition, the Committee

considered Jefferies’ significant presence in the Brazil market, where a material portion of the

Debtors’ operations and certain Committee members are located.

          8.          As noted, one of the topics the Committee considered at length was the need to

avoid unnecessary duplication of work from the retention of separate financial and investment

banking advisors. To this end, at the outset of their engagements, FTI and Jefferies prepared, at

the Committee’s request, a presentation describing the discrete tasks that each firm agreed to

perform. A copy of that presentation is attached to the Szlezinger Declaration at Exhibit 1.

                                  [Remainder of page intentionally blank]




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          I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief.

Dated: October 13, 2023                         Respectfully submitted,
       Coshocton, Ohio


                                                /s/Joshua Wiley
                                                Joshua Wiley, solely in his capacity as representative
                                                of the Committee and not in his personal capacity




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